                  EXHIBIT 3




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        ATSDR SUPPORT-
        ESTIMATION OF VOC REMOVAL


        MARINE CORPS BASE CAMP LEJEUNE
        NORTH CAROLINA



        Prepared For:


        ENVIRONMENTAL MANAGEMENT DIVISION
        CAMP LEJEUNE, NC 28542-0004


        Contract No.: DACW56-03-R-I013
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        1. INTRODUCTION

        Established in 1941, the Marine Corps Base (MCB) Camp Lejeune provides special-
        ized training to prepare troops for amphibious and land combat operations. The base is
        located in Eastern Onslow County, North Carolina, and it is bordered on the north by
        State Route 24, to the west by U.S. Route 17, and to the southeast by the Atlantic
        Ocean. The base occupies 246 square miles and currently houses almost 70,000 resi-
        dents. The residents, commuting personnel, base visitors and contractors are served by
        five community water systems (CWS) and several transient, non-community water
        systems (TNCWS). Some of the TNCWS purchase water from Onslow County. Other
        systems treat ground water from on-site wells. Most of the facilities were built in the
         1940s and were subsequently upgraded or rehabilitated.
(
        1.1    PURPOSE


        MCB Camp Lejeune is currently the subject of an epidemiological study by the
        Agency for Toxic Substance and Disease Registry (ATSDR) to ascertain the health
        impacts of various volatile organic chemicals (VOCs), which were present in the Had-
        not Point, Tarawa Terrace and Holcomb Boulevard water supply systems in the early
        1980s. The locations of these water systems are shown in Figure 1-1.

        AH Environmental Consultants Inc. (AH) was retained by MCB Camp Lejeune under
        contract number DACW56-03-R-1013 to assist ATSDR in obtaining information re-
        quired for the modeling efforts in the epidemiological study. The scope of work for the
        project is attached as Appendix A. This report addresses Task G, "Develop Estimates
        of VOC Removal Rates." As part of this effort, AH conducted a literature review and
        a search of the appropriate archives to assist in the development of referenced esti-
        mates of the VOC removal rates that might have occurred through the Hadnot Point,
        Holcomb Boulevard and Tarawa Ten'ace water treatment plants.

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                   Figm'e 1·1. Water Systems at Camp Lejeune in the 1980s


     1.2    DOCUMENT ORGANIZATION


     This document is organized as follows: Section 2 provides a chronology of events re-
     lating to the groundwater contamination at the base, an account of the regulatory his-
     tory involving organic compounds in drinking water and a detailed description of the
     Hadnot Point, Holcomb Boulevard and Tarawa Tel1'ace water treatment plants. Section
     3 provides a background on the properties of certain VOCs, their fate in water treat-
     ment processes and approaches to model their removal from aqueous solutions. Esti-
     mated removals of VOCs are presented in Section 4. The findings of this work are
     summarized in Section 5. Literature references are listed in Section 6.


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     The scope of work for this project is included in Appendix A. Dimensions of the
     treatment units that were in operation at the three plants are tabulated in Appendix B.
     Appendix e contains the detailed voe removal calculations that are based on the
     models presented in Section 3.




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            2. BACKGROUND

            This section provides a brief chronology of known events relating to the groundwater
            contamination at the base, an account of the regulatory history involving organic com-
            pounds in drinking water and descriptions of the Hadnot Point, Holcomb Boulevard
            and Tarawa Terrace water treatment plants.


            2.1    CHRONOLOGY


            Based on the chronology posted on the MCB Camp Lejeune website, sampling for or-
            ganic contaminants in groundwater started in 1977. The initial monitoring at the water
            sources for Courthouse Bay, Rifle Range, Onslow Beach, Hadnot Point, Holcomb
            Boulevard, Tarawa Ten'ace, Montford Point and New River was petformed for the
(
            possible presence of two herbicides (2,4-dichlorophenoxyacetic acid and 2,4,5-
            trichloro-phenoxypropionic acid) and four chlorinated hydrocarbons (Endrin, Lindane,
            Methoxychlor and Toxaphene). The detection limit was 1 JlglL for the chlorinated hy-
            drocarbons and 0.1 Jlg/L for the herbicides. No contaminants were detected.

            In 1982, contamination of the Hadnot Point and Tarawa Terrace water systems with
            Tetrachloroethylene (Perchloroethylene or PCE) and Trichloroethylene (TCE) was de-
            tected during monitoring for trihalomethanes. Subsequently, other VOCs were de-
            tected (Dichloroethylene or DCE), vinyl chloride and methylene chloride). Detection
            of the contamination prompted the shutdown of the contaminated wells and the con-
            tinued monitoring all distributed water although a Maximum Contaminant Level
            (MCL) had not been established for the detected organic contaminants.

            In 1982, 1983, 1984 and 1985, VOCs were detected in various drinking water wells
            and in finished water in the Hadnot Point, Tarawa Terrace and Holcomb Boulevard
            distribution system. Individual contaminated water wells were shutdown when VOC


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     contamination was detected. In 1988, the expansion of the Holcomb Boulevard water
      treatment plant was completed and the Tarawa Terrace water treatment plant was per-
      manently shutdown. The history of water quality monitoring at the base, as last up-
     dated in July 2003, is presented on the MCB Camp Lejeune public health website.


     2.2    REGULATORY HISTORY


     The Safe Drinking Water Act (SDWA) (Public Law 93-523) was passed in 1974. Un-
     der the legislation of the SDWA, the United States Environmental Protection Agency
     (EPA) was required to set enforceable standards for health-related drinking water con-
     taminants. These standards were to affect all public water systems serving at least 25
     persons. The State of North Carolina is the primacy agency for enforcing EPA stan-
     dards and has adopted all regulations promulgated under the SDWA.

     The regulations of the SDWA were set in two stages: The first stage was to set interim
     regulations immediately. These regulations were based primarily upon the United
     States Public Health Service (USPHS) guidelines set in 1962. The second stage was to
     revise these interim regulations after an assessment of the effects of human exposure
     through drinking water and the toxicology of contaminants in drinking water were
     completed by the National Academy of Sciences. Interim standards developed in 1975
     set specific maximum contaminant levels (MCLs) for several substances classified as
     contaminants (Table 2-1). Amendments were made to the interim standards in 1976,
      1979 and 1980.




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               Table 2-1. Maximum Contaminant Limits for Drinking Water in 1975.

         Contaminant                                 MeL
         Organics
           Endrin                                    0.0002mglL
           Lindane                                   0.0004 mglL
           Methoxychlor                              0.1 mglL
           Toxaphene                                 0.005 mglL
           2,4-D                                     0.1 mglL
           2,4,5-TP Silvex                           0.01 mglL
           Trihalomethanes                           0.10 mglL
         Inorganics
           Arsenic                                   0.05 mglL
           Barium                                    1.0mglL
           Cadmium                                   0.01 mglL
           Chromium                                  0.05 mIiL
           Fluoride                                  1.4-2.4 mgIL
           Lead                                      0.05 mglL
           Mercury                                   0.002 mglL
           Nitrate (as N)                            10 mglL
           Selenium                                  0.01 mglL
           Silver                                    0.05mglL
           Sodium and corrosion                      No MCL, monitoring and reporting only
         Radionuclides
           Radium 226 and radium 228                 5pCiIL
           Gross alpha particle activity             15 pCi/L
           Beta particle and photon radioactivity    4mrem
         Microbials
           Coliforms                                 <11100 mL
         Turbidity                                   1 TU (up to 5 TU)




        In addition to the health-related enforceable standards set by the SDWA, the act man-
        dated the USEPA to set non-enforceable federal guide-lines for contaminants that
         might adversely affect the aesthetic quality of drinking water. The non-enforceable
        federal guidelines developed into the set of initial secondary drinking water standards
        and their specific secondary MCLs (SMCLs). The SMCLs became effective in 1979
        and are listed in Table 2-2.


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      Table 2-2. Secondary Maximum Contaminant Limits for Dl'inking Water in 1979.

      Contaminant                             SMCL
      Chloride                                250 mg/L
      Color                                   15 color units
      Copper                                  1 mg/L
      Corrosivity                             NoncOlTosive
      Fluoride                                2mg/L
      Foaming Agents                          0.5 mg/L
      Iron                                    0.3 mg/L
      Manganese                               0.05 mg/L
      Odor                                    3 (threshold odor number)
      pH                                      6.5-8.5
      Sulfate                                 250 mg/L
      Total Dissolved Solids                  500 mg/l
      Zinc                                    5mg/L
      Proposed SCMLs
        Aluminum                              0.05 mg/L
        a-Dichlorobenzene                     0.01 mg/L
        p-Dichlorobenzene                     0.005 mg/L
        Ethylbenzene                          0.03 mg/L
        Monochlorobenzene                     0.1 mg/L
        Pentachlorophenol                     0.03 mg/L
        Silver                                0.09~glL
        Toluene                               0.04 mg/L
        Xylene                                O.02mg/L




     The SDWA first passed in 1974 was subject to major amendments in 1986. The 1986
     amendments required USEPA to set monitoring requirements for 83 drinking water
     contaminants by 1989 including VOCs. Originally eight VOCs were regulated under
     the Phase I Rule (52 FR 23690), July 1987; ten VOCs were added under Phase II (56
     FR 3600), January 1991; and three VOCs were added under Phase V (51 FR 31776),
     July 1992. The VOCs regulated during the different phases and their MCLs are listed
     in Table 2-3.




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           Table 2-3. Volatile Organic Chemicals Regulated Under the SDWA of 1986.

      Chemical                                   MCL(mgIL)
      Phase I (1987)
        1,1,1-Trichloroethane                    0.2
        1,I-Dichloroethylene                     0.007
        1,2-Dichloroethane                       0.005
       Benzene                                   0.005
        Carbon Tetrachloride                     0.005
       p-Dichlorobenzene                         0.D75
       Trichloroethylene (TCE)                   0.005
       Vinyl Chloride                            0.002
      Phase II (1991)
       o-Dichlorobenzene                         0.6
       cis-l,2-dichloroethylene                  0.07
       trans-I,2-dichloroethylene                0.1
        1,2-dichloropropane                      0.005
       Ethylbenzene                              0.7
       Monochlorobenzene                         0.1
       Styrene                                   0.1
       Tetrachloroethylene (PCE)                 0.005
       Toluene                                   1
       Xylenes (Total)                           1
      Phase V (1992)
       Dichloromethane                           0.005
        1,2,4-Trichlorobenzene                   0.D7
       1,1,2-Trichloroethane                     0.005




     2.3     WATER PLANT DESCRIPTIONS


     The water systems of concern in the ATSDR study, including Hadnot Point, Holcomb
     Boulevard and Tarawa Terrace, are described in the following sections. The descrip-
     tions are based on interviews with base personnel, site visits and an examination of
     design and as-built drawings that were obtained as part of this project.




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     2.3.1       Hadnot Point

     The Hadnot Point Water Treatment Plant (WTP) (PWSID 04-670-41, Building 20) is
     located in a central geographic location serving the residential, commercial and indus-
     trial areas south of Wallace Creek and east of the New River. In 2001, the facility
     served 35,000 people and 1,050 service connections. Its current design capacity is 5.0
     MGD (790 m3/h) and treatment processes include chlorine disinfection, lime softening
     with spiractors, followed by filtration, and fluoridation.

     The Hadnot Point WTP was designed in 194111942 by Carr & J.E. Greiner Co. for the
     Marine Barracks New River, North Carolina under a contract with the U.S. Navy Bu-
     reau of Yards and Docks (M.B. Project No. P-I08-4). As originally built, groundwater
     was treated in three parallel pellet reactors ("spiractors") with a capacity of 700 gpm
     (158 m3/h) each, where lime slurry was added for softening. The water was discharged
     into a 17,000-gallon (64.3 m3) recarbonation basin (Figure 2-1) and then distributed
     onto three parallel dual-media gravity filters (Figure 2-2). The filter media consisted of
     a 27-inch (0.69 m) layer of sand on top of an 18-inch (0.45 m) layer of gravel. Disin-
     fection was accomplished using two gas chlorinators. The chlorine solution could be
     injected at three different points upstream of the spiractors and downstream of the fil-
     ters. Finished water was then discharged into an 800,000-gallon (3,000 m 3) clearwell.

     Based on a design by Can' & J.E. Greiner Co., the plant underwent a major expansion
     in 194411945. Under Project P-1517, two spiractors, two filters and an additional
     560,000-gallon (2,100 m3) clearwell were added to the plant to obtain today's capacity
     of 5 MGD. A third finished water reservoir with a capacity of 2 million gallons
     (7,600 m3) was added to plant in the early 1950s. The last major change in the con-
     figuration of the Hadnot Point WTP until the 1980s occurred in 1959-1961, when the
     800,000-gallon (3,000 m 3) clearwell was converted into a raw water reservoir by L.E.
     Wooten & Company under a contract with the U.S. Navy Bureau of Yards and Docks.




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L_                            Figure 2-1. Hadnot Point WTP Recarbonation Basin.




                                       Figure 2-2. Hadnot Point WTP Filter.


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     At some unknown time in the past decades, the plant operators discontinued recar-
     bonation. However, softened water still flowed through the basin. The plant configura-
     tion during the period from 1968-1985 is depicted in Figure 2-3.




                 800,ODO-gallon             (5) 700 gpm Spiractors                   17,DOO-gallon
                  Raw Water                                                       Recarbonation Basin
                   Reservoir




                 2,OOO,OOO-gallon    560,ODO-gallon
                                                                           (5) Gravity Filters
                  Finished 'Vater    Finished Water
                     Reservoir         Reservoir




                    Figure 2·3. Hadnot Point Water Treatment Plant 1968·1985.


     2.3.2 Holcomb Boulevard

     The Holcomb Boulevard WTP (PWSID 04-67-043, Building 670) supplies water to
     the central geographic area north of Wallace Creek, Tarawa Terrace (since 1988), U.S.
     Naval Hospital, Midway Park and Camp Johnson. In 2001, the facility served 17,000
     people and 1,500 service connections. Today, its design capacity is 5.0 MGD (790
     m 3/h) and the treatment processes include chlorine disinfection, lime softening with
     spiractors, followed by filtration, and fluoridation.

     The Holcomb Boulevard WTP was constructed in the early 1970s based on a design
     by Henry von Oesen & Associates on a contract with the Naval Facilities Engineering
     Command, Atlantic Division (LANTDIV). Originally designed for a capacity of 2


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          MOD (315 m%), the plant was equipped with two parallel 700 gpm (158 m%)
          spiractors for lime softening (Figure 2-4). There was no recarbonation basin and the
          water discharged directly to two dual-media gravity filters. The filter media consisted
          of 12 inches (0.30 m) of gravel and 27 inches (0.69 m) of sand. Filtered water flowed
          to a clearwell with a capacity of 1 million gallons (3,800 m\ The plant configuration
          during the period from 1970-1985 is depicted in Figure 2-5.

          The plant underwent its first major upgrade in 1984-1987 under LANTDIV contract
          No. N62470-81-B-I644. During this period, its capacity was expanded to its cUtTent
          capacity of 5 MOD (19,000 m3/d) by adding three spiractors and three gravity filters.
          In addition, two circular tanks, one for raw water and one for finished water storage,
          were added to the plant. The raw and finished water reservoirs each had a capacity of
          2 million gallons (7,600 m\




                           Figure 2-4. Holcomb Boulevard WTP Spiractors.




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                                                                                    l,OOO,OOO-gallon
                                                                                     Finished Water
                   (2) 700 gpm Spiractors         (2) Gravity Filters                   Reservoir




                 Figure 2-5. Holcomb Boulevard Water Treatment Plant 1970-1985.


     2.3.3       Tarawa Terrace

     The Tarawa Terrace WTP served a population of 6,300 until it was shutdown in 1988
     after the Holcomb Boulevard plant expansion was completed. Its design capacity was
      1 MGD (158 m3/h) and treatment processes included chlorine disinfection, lime sof-
     tening with spiractors (pellet reactors), followed by filtration and fluoridation.
     The earliest available design drawings suggest that the plant was built in the early
      1950s. These drawings did not agree with designs for later upgrades. However, based
     on as-built drawings for a water supply improvement project in 1963 (Bureau of Yards
     and Docks No. 859315 - 859320), it appears that the plant was equipped as follows:
     Raw water was pumped directly from the supply wells to a single 700 gpm (158 m 3/h)
     spiractor for lime softening. The softened water was then conveyed to six parallel 9-
     foot diameter pressure filters, two of which were added during the 1963 upgrade pro-
     ject. Filtered water was collected in a 750,000-galion (2,800 m3) clemwell and
     pumped to a 12-inch distribution system header using up to four pumps with capacities
     of 500 gpm, 750 gpm, 1000 gpm and 1250 gpm. The plant configuration during the
     period from 1968-1985 is shown in Figure 2-6.




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                                                                                  750,OOO·gallon
                                                                                  Finished Water
             (1) 700 gplll Spiractor         (6) Pressure Filters                    Reservoir



                 Figure 2-6. Tarawa Terrace Water Treatment Plant 1968-1988.


      Operation of the Tarawa Ten'ace WTP was discontinued in 1988, when the Holcomb
      Boulevard WTP expansion was completed and the distribution systems were intercon-
      nected.




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         3. MODELING VOC REMOVAL

         This section provides a background on the properties of certain VOCs, their fate in
         water treatment processes and approaches to model their removal from aqueous solu-
          tions.


         3.1       PROPERTIES OF TRICHLOROETHYLENE AND TETRACHLOROETHYLENE


         Five VOCs were identified as contaminants in the Camp Lejeune's wells and finished
         water: TCE, DCE, PCE, methylene chloride and vinyl chloride. The two specific
         VOCs that are part of ATSDR's computer modeling of the MCB water system over the
         period of 1968-1985 are TCE and PCE.

         Trichloroethylene (TCE) is a nonflammable, colorless liquid with a somewhat sweet
         odor and a sweet, burning taste. It is used mainly as a solvent to remove grease from
         metal parts, but it is also an ingredient in adhesives, paint removers, typewriter COITec-
         tion fluids and spot removers. Tetrachloroethylene (PCE) is a chemical that is widely
         used for dry cleaning of fabrics and for metal-degreasing. It is also used to make other
         chemicals and is used in some consumer products. It is a nonflammable liquid at room
         temperature, evaporates easily into the air and has a sharp, sweet odor. Some physical
         and chemical properties of these two compounds are summarized in Table 3-l. Esti-
         mated Henry's Law constants and diffusion coefficients were obtained from EPA
         (2004).




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                 Table 3-1. Physical and Chemical Properties of TCE and PCE.

       Property (at 20°C, 1 atm)                TCE                    PCE
       CAS Registry Number                      79-01-6                127-18-4
       Name (according to NIST Standard
                                                Trichloroethylene      Tetrachloroethylene
       Reference Database 69)
       Molecular Formula                        C2H Cb                 C2Cl4
                                                    CI                     CI

       Structural Formula
                                                 CI   Jy" Jy"
                                                          H
                                                                       CI

                                                                                  CI
       Molecular Weight                         131.39                165.82
       Henry's Constant (atm'm"/mol)            7.07 x 10-"           1.31 x 10-"
       Diffusion Coefficient in Water (cm"/s)   8.43 x 10-0           7.59 x 10-0
       Diffusion Coefficient in Air (cml/s)     0.0890                0.0813




     3.2    FATE OF VOLATILE ORGANIC COMPOUNDS

     In reviewing the fate of VOCs that have contaminated bodies of water, volatilization
     has been shown to be a significant pathway for loss across the air-water interface. This
     is especially true for organic pollutants whose Henry's constants are greater than
     4.6 x 10-3 atm·m 3/mol (Smith et al., 1980). For highly volatile solutes (high Henry's
     constants) volatilization loss has been shown to be enhanced by air turbulence and
     sub-water mixing (Chiou et al., 1980). Callaghan et al. (1979), summarizing in an
     EPA report on the fate of priority pollutants in aqueous systems, recognized volatiliza-
     tion as the primary transport process for VOCs (e.g., TCE, DCE, PCE).

     As far back as the 1970s, volatilization of man-made chlorinated hydrocarbons
     throughout the global environment and its subsequent contamination has led research-
     ers to develop mathematical expressions to predict the transfer of contaminants from
     water to air. Mackay and Leinonen (1975) presented equations to predict the rate of
     evaporation of organic contaminants (i.e., VOC) from water bodies to the atmosphere.


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     Dilling (1977) measured half-lives for evaporation of organic chemicals from dilute
     aqueous solutions (1 mgIL) from an average solution depth of 2.5 in (6.5 cm), under
     quiescent air conditions while stirring at 200 rpm at 25°C. Evaporation half-lives for
     organic chemicals ranged from 17 to 56 minutes. For TCE and PCE, Dilling et al.
     (1975) presented data showing that volatilization of 50% of the two compounds from a
     dilute solution (1 mg/L) occUlTed in less than 30 minutes and 90% volatilization oc-
     cUlTed in less than 90 minutes. The authors suggested that the VOCs will not persist in
     natural water bodies due to evaporation. In a study on persistence of organic chemicals
     in natural water bodies, volatilization was considered the major process of removal of
     organic contaminants from surface waters (Zoeteman et al., 1980). Half-lives of or-
     ganic chemicals in surface water bodies have been reported on the order of 1-10 days
     (Zoeteman et al., 1980). Callaghan et al. (1979) and references therein, cautioned
     against extrapolating volatilization results from laboratory studies considering that sur-
     face and bulk agitation can be highly variable in natural waters.

     Peng et al. (1994) estimated the volatilization rate constant of dissolved volatile or-
     ganic compounds (TCE, PCE) from a 1000 mL beaker in the laboratory under near
     ideal quiescent conditions. The volatilization rate constant from this model was found
     to be inversely proportional to the square of the water depth under ideal quiescent
     conditions whereas it was proportional to the inverse of the depth under completely
     mixed conditions. A theoretical and a simplified model were applied to experimental
     data and correlation coefficients of better than 0.95 were obtained for all tested cases.
     Near quiescent experimental conditions are expected to prevail in water treatment
     holding/storage tanks.

     Surveys of VOC occurrence in groundwater (Squillace, 1999) and evaluations of VOC
     treatment technologies for drinking water (Love and Eilers, 1982) have stated that in-
     cidental removal of VOC is likely to occur during conventional water treatment
     through aeration/volatilization, although conventional water treatment processes have




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     been shown to be ineffective in directly reducing concentrations of VOCs in a con-
     taminated raw source water (Love et al., 1983).

     In wastewater treatment, VOC emissions have been thoroughly studied. Models have
     been developed to estimate emissions of organic compounds through various path-
     ways including volatilization. An EPA report (EPA, 1980), assessing innovative and
     alternative technology in wastewater treatment, stated that hydraulic jumps, overflow
     weirs, open clmifier surfaces, operations that cascade the water, finished water stor-
     age, all provide opportunities for potential loss of VOCs from water. Such VOC re-
     movals are the result of happenstance rather than optimized design to provide maxi-
     mum removal, as in air stripping treatment processes.

     Volatilization in the form of VOC emissions from various industrial unit processes in-
     cluding wastewater treatments has been studied by Tansel and Eyma (1999) who de-
     veloped mathematical models to estimate mass transfer for volatilization from clarifier
     surfaces and weirs as well as aeration basins. Tansel and Eyma (1999), and references
     therein, found that VOC emissions were dependent on the air-water surface area, de-
     gree of agitation of the water surface and the residence time of the water in the tanks.
     During the development of the VOC emission model, it was assumed that volatiliza-
     tion was the single most important removal mechanism for the VOCs under study, in-
     cluding TCE and PCE, that were detected in the influent streams at concentrations of
     3.75 I1g1L and 8.7 I1g1L, respectively. Removal rates were on the order of 68% for
     TCE and 86% for PCE with most of the volatilization occUlTing from the aeration
     tanks and weirs. Nakasone (1986) also modeled VOC removal during aeration at weirs
     and cascades and incorporated terms for fall-height, discharge and tail water depth.


     3.3    OVERVIEW OF VOLATILIZATION MODELS


     A summary of the existing models for the volatilization of organics from water bodies
     (e.g., rivers and lakes) was provided by Thomas (1990). He evaluated foul' different
     approaches:

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          •       Method of Mackay and Wolkoff (1973): This method is based on thermody-
                  namic considerations and applicable to only a restricted class of compounds.
                  The method is not recommended for general use. It was later expanded accord-
                  ing to the methods developed by Liss and Slater (1974).
          •       Method of Liss and Slater (1974): The volatilization is modeled as a two layer
                  film where at the interface, the ratio of concentration across air to water is as-
                  sumed to equal Henry's law constant. Transfer through the films occurs
                  through molecular diffusion. The resulting mass transfer coefficients are em-
                  pirical in nature.
          •       Method of Chiou and Feed (1977, 1979): The method is based on gas dynam-
                  ics and thermodynamic considerations. It was not adopted in later studies of
                  volatilization of organic chemicals from water.
          •       Method of Smith et a\., (1980): This method is based on reaeration and is ap-
                  plicable to compounds with high Henry's constants and low solubility.

      The method recommended by Thomas (1990) follows the two-film concept introduced
      by Liss and Slater (1974) and extended by Mackay and Leinonen (1975). Liss and Sla-
      ter's model was also adopted for the Estimation Program Interface (EPI), a suite of
      environmental fate estimation models developed for the EPA Office of Pollution Pre-
      vention Toxics by the Syracuse Research Corporation (SRC). Using a single input,
      EPI calculates the VOC volatilization from rivers and lakes and half-lives among other
      physical-chemical properties and environmental fate parameters.

      EPA's Office of Air Quality Planning and Standards (OAQPS) has developed a com-
      puter program WATER9 (which superseded an earlier WATER8 version), for estimat-
      ing the loss of organic compounds through volatilization from various wastewater
      treatment units including overflow weirs (EPA, 1994). Equations used in WATER9
      along with examples are provided in the program manual (EPA, 1994). Nakasone's
      (1986) model for weir aeration has been adopted in the WATER9 program for estimat-
      ing VOC loss from a weir.




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     3.4       ESTIMATION OF VOC EMISSIONS FROM WATER TREATMENT UNITS


     In this work, the estimation of volatilization half-lives of TCE and PCE and their re-
     moval rates from various water U'eatment units was made based on the series of equa-
     tions compiled by Thomas (1990). Volatilization depends on the chemical properties
     of the organic compound under study (e.g., solubility, vapor pressure, Henry's law
     constant) and the physical characteristics of the water body (e.g. depth, flow rate).

     The following water treatment units were evaluated with respect to their contribution
     to the volatilization of TCE and PCE from air-water interfaces:

           •     Raw water reservoir
           •     Recarbonation basin
           •     Filter water surfaces
           •     Spiractors water surfaces
           •     Overflow weirs in spiractors
           •     Finished water storage reservoirs

     The model of Mackay and Leinonen (1975) as outlined in Thomas (1990) was used to
     estimate half-lives and VOC removal rates from the above treatment water holding
     structures. Nakasone's (1986) model as adopted in the EPA's WATER9 model was
     used to calculate VOC removal from spiractor weirs. Detailed mathematical descrip-
     tions of the models are provided in the following sections. The dimensions of various
     treatment units were obtained from schematics provided by MCB Camp Lejeune for
     WTP structures that were in existence up to 1985.

     The spiractors at the three treatment plants were identical in capacity and dimensions.
     In the model, removal of VOC occurred from the top surface as shown in Figure 3-1
     as well as from the nappe (Le., the sheet of water falling over a weir) believed to be
     formed at the center effluent pipe.




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                                           010.4 ft (3.2 m)




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                                                   »':':;, ~,,'_ t




                                              ,-                                           -,
                                           o 2.4 ft (0.7 m)
                                Figure 3·1. Spiractor Dimensions.


     Images of the pipes at the Hadnot Point WTP are provided in Figure 3-2 and Figure
     3-3. A detailed sketch of the effluent pipe is shown in Figure 3-4. The input pat'ame-
     ters needed to estimate the VOC removal from a weir using Nakasone's model were
     determined as follows: the depth over the circular pipe (He) was estimated using Fran-
     cis' weir equation and assuming that the pipe represents a sharp-crested weir with a
     length equal to the circumference of the pipe. The fall height was estimated visually
     based on recent photographs. An approximation for the tail water depth was obtained
     by assuming that critical flow occurs downstream of the bend. The critical depth for a
     circular 12-inch pipe at a flow rate of 1 MOD (158 m 3/h) is approximately 6 inches
     (0.12 m).

     The dimension of the water storage tanks and filters are listed in Appendix B. For the
     calculation of VOC removals, the overflow and the bottom elevations of the basins
     and tanks were used to determine the water depth. For filters, only the water depth




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     above the granular media was taken into account. The normal water elevation was de-
     termined from the elevations of shut-off floats or overflows.




                 Figure 3-2. Hadnot Point WTP Spiractor Effluent Pipe (194111942).




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                 Figm'e 3-3. Hadnot Point WTP Spiractor Effluent Pipe (194411945).




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                                                      012 in (0.30 m)




         2 in (0.05 m)




          12 in (0.30 m)




          6 in (0.15 m)




                    Figure 3-4. VOC Removal Due to Ael'8tion at Effluent Pipe.


     3.4.1       VOC Removal from Quiescent Basins with Flow

     Raw and finished water reservoirs and any other water holding structure exhibiting a
     large surface area would be conducive for volatilization of VOCs from the open liquid
     surface into the air. The modeling of the volatilization rates is based on the chemical
     properties of the contaminants (i.e., TCE and PCE) identified in the water entering the
     three WTPs and on the physical properties of the unit processes (i.e., dimensions, flow
     rate).

     Although the errors associated with these types of calculations are unknown, it is gen-
     erally believed that estimates of volatilization are in agreement with actual processes



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     within a factor of ten and probably within a factor of two or three in most cases (Tho-
     mas, 1990).

     In a quiescent tank (e.g., raw and finished water reservoirs, filter beds and spiractors)
     the water is assumed to be well mixed and the bulk concentration of a contaminant is
     equal to the effluent concentration and can be estimated from a material balance. VOC
     volatilization is a first-order rate process and the remaining fraction of a chemical can
     be expressed as follows:

                                               C
                                               _0   = exp(- k,.t)                       Equation 1
                                               C,


     Co is the effluent concentration, Ci is the influent concentration, kv is the overall vola-
     tilization rate constant and t represents the residence or detention time in the reactor.
     The detention time is calculated by dividing the reactor volume by the flow rate. The
     decay of the chemical is an exponential function of time as shown in Figure 3·5.



                        100%

                 Q      80%        \
                 d
                 :Iij 60%      -       \
                 .2<1   40%                ~
                                               ~
                                                         ----
                 ·2     20% -
                 ~
                         0%
                                                             Tim: t


                         Figure 3·5. EX]Jonential Decay Due to Volatilization.




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     The overall volatilization constant, kv, depends on the overall liquid mass transfer co-
     efficient, K L , and the mean depth of the water body, Z:


                                              k       = KL                             Equation 2
                                                  ,      Z

     The overall liquid mass transfer coefficient, KL, needed to solve Equation 1 is esti-
     mated from a two-phase resistance model as follows:




                                                                                        Equation 3




     The additional unknowns introduced in Equation 3 include the liquid-phase mass
      transfer coefficient, k/, and the gas-phase mass transfer coefficient, kg, RT is the prod-
     uct of the universal molar gas constant and the absolute temperature which has a nu-
     merical value of 0,024 atm·m3/mol at 20°C. H is the substance-specific Henry's Law
     constant.

     The transfer coefficients k/ and kg depend on wind and/or water velocity, water depth,
     Z, and molecular weight, M, of the chemical:


                                                                                       Equation 4



                                    k=23.51.(V,~~;:;)·t2
                                     /                ZO.673   M                       Equation 5



     For raw and finished water reservoirs, the water velocity can be computed by dividing
     the flow rate by the cross-sectional area. In filters and spiractors, the overflow rate,
     i.e., the quotient of flow rate and sUiface area can be used. If the wind velocity ex-



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     ceeds 1.9 mis, then the following equation should be used for the liquid mass transfer
     coefficient:


                                                                                     Equation 6



     Average wind speeds in coastal regions in North Carolina range from 8 to 12 mph (3.6
     to 5.4 mls) (National Climatic Data Center, 1998). A wind velocity of 5 mls was used
     to compute the volatilization from the spiractors and the recarbonation basin. The
     other treatment components are covered or indoors.


     3.4.2       VOC Removal from Weir Structures

     In addition to surface volatilization, the spiractor effluent pipe offers a weir like struc-
     ture through which water is transfell'ed to the filter beds. According to Nakasone's
     (1987) model as implemented in WATER9 (EPA, 1994), volatilization to air over weir
     type structures is a function of flow rate, fall distance and tail water depth. The frac-
     tion of a chemical that is removed, CoIC;, is estimated by the following relationship:


                                                                                     Equation 7



     Ko is the overall mass transfer coefficient based on the liquid concentrations, q is the
     water flow rate per length of the weir and Z is the fall height including 1.5 times the
     distance from the weir top to the critical depth above the weir. The value of the overall
     mass transfer is estimated from the liquid and gas mass transfer coefficients, k/ and kg,
     and Henry's constant, H, as shown in Equation 8.




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                                         K
                                             o
                                                 =(J..+~J-l
                                                   k  k H
                                                                                       Equation 8
                                                   I      g




     The gas mass transfer coefficient of the flow at the weir is estimated using Equation 9,
     where Dgv is the diffusion coefficient of the organic chemical in air and Dgo the diffu-
     sion coefficient of a reference substance (benzene, Dgo = 0.0982 cm2/s).


                                                                                       Equation 9



     A value of the liquid phase mass transfer coefficient can be estimated for organics,
     after correcting for the relative diffusion coefficient of the organic and oxygen in wa-
     ter.

                                                          0.66

                                        k =!L D"                 In(r)                Equation 10
                                         I  Z ( D10 )


     Dlv is the diffusion coefficient of the organic chemical in water and Dlo the diffusion
     coefficient of the reference substance, benzene, in water (Dlo =: 8.99 x 10-6 ). In(r) is the
     deficit ratio for the compound of interest, which is computed according to Equation
     11, where 11 is the tail water depth at the weir.


                                                                                      Equation 11




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         4. RESULTS

         Using the model presented in the previous sections, fractional removals of TCE and
         PCE from the treatment units that existed at the Hadnot Point, Holcomb Boulevard
         and Tarawa Terrace WTPs were estimated. Detailed calculations are included in Ap-
         pendix C in the same order as presented below. All computations were based on a
         temperature of 20°C and atmospheric pressure of 1 atm (101.325 kPa).


         4.1     voe REMOVAL FROM SPIRACTORS
         To determine the fractional VOC removal from spiractors, only a single computation
         is necessary because the spiractors used at the three plants are identical and operate
         under the same design conditions. That is, for example, the fractional VOC removal in
(
         five spiractors operating at 5 MOD is equal to that in one spiractor operating at
         I MOD.

         The calculations reveal that the removal of TCE and PCE by volatilization from the
         water surface in the spiractors is virtually zero. The half-life of these compounds, i.e.,
         the time required for 50% removal, is approximately 200 days, whereas the detention
         time in the reactors is less than 10 minutes. The presence of wind at a speed of 5 mls
         has no significant effect on the removal within the reactor due to the short detention
         time.


         4.2     voe REMOVAL FROM WEIR STRUCTURES
         Using Nakasone's model as implemented in WATER9, volatilization due to aeration at
         the spiractor effluent pipe resulted in TCE and PCE removals of 6.1 % and 7.7% at the
         design flow rate 700 gpm, respectively. These moderate removals are due to the turbu-
         lence created by the nappe upon impacting the horizontal pipe section.


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         A sensitivity analysis showed that the fall height has the largest effect on VOC re-
         moval at a weir. It was found that the removal of PCE and TCE is nearly proportional
         to the fall height. Observations on-site indicated the fall height can be highly variable
         depending on downstream head conditions, for example, due to filter backwashing.
         This valiability is illustrated in pictures taken at the Hadnot Point WTP. Only a small
         vortex formed over the submerged effluent pipe (Figure 4-1) on one spiractor and then
         developed a nappe after a backwashed filter went back online (Figure 4-2). Because of
         the downstream recarbonation basin at that plant, the available head does not appear to
         allow a fall height of greater than approximately one foot and the effluent pipe is
         likely to be flowing full. However, at the Holcomb Boulevard WTP, because of the
         absence of a recarbonation basin, water falls approximately two feet to the bottom of
         the horizontal pipe section, allowing violent mixing and open channel flow (Figure
         4-3).

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                 Figure 4-1. Vortex Over Hadnot Point WTP Spiractor Effluent Pipe.




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         ATSDR SUPPOIrf· EsTIMATION OFVOC REMOVAL                                     SECTION 4
         MARINE CORPS BASE CAMP LEJEUNE                                                RESID,TS




(           Figure 4-2. Nappe Developed at Hadnot Point WTP Spiractor Effluent Pipe.




            Figure 4-3. Fall Height at Holcomb Boulevard WTP Spiractor Effluent Pipe.


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         ATSDR SUPPORT - EsTIMATION OF VOC REMOVAL                                          SECTION 4
         MARINE CORPS BASE CAMP LEJEUNE                                                      RESULTS




         Based on these observations, there is some uncertainty in the removal estimates from
         the effluent pipes. Additional uncertainties are introduced by varying head losses in
         the pipes caused by calcium carbonate scale built-up and manual cleaning. However, it
         is estimated that PCE and TCE removals due to aeration at the spiractor effluent pipes
         are likely to be no larger than 15%.


         4.3    VOC REMOVAL FROM RESERVOIRS AND FILTERS

         In raw and finished water reservoirs, the flow velocity was calculated based on the
         vertical cross-sectional area. For filters, the overflow rate was used as an estimate of
         the velocity. In both cases, the wind speed was neglected because the reservoirs are
         covered and the filters are located within the operations buildings.

         TCE and PCE removals from the filters were virtually zero. Due to the exposure to
         wind, fractional removals from the recarbonation basin were discernible (0.03%) but
(
         too small to be considered significant. Despite the large surface areas, VOC removals
         in the raw and finished water reservoirs, ranging from 0.01 % to 0.04%, were also
         negligible.

         In all cases, the effect of flow restrictions at basin inlets and outlets on the velocity
         was not taken into account. Considering such effects would require the development
         of a detailed hydrodynamic model for each basin. However, calculations with an 01'-
         der-of-magnitude variation in flow velocity showed that it is unlikely that localized
         higher velocity could have significantly affected the VOC removal in the basins.




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         A TSDR SUPPORT· EsTIMATION OF VOC REMOVAL                                          SECTIONS
         MAIUNE CORPS BASE CAMP LEJEUNE                                                     SUMMARY

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         5. SUMMARY

         MCB Camp Lejeune is cUiTently the subject of an epidemiological study by the
         ATSDR to ascertain the health impacts of certain VOCs, including TCE and PCE
         which were present in the Hadnot Point, Tarawa Terrace and Holcomb Boulevard wa-
         ter supply systems in the early 1980s. AH assisted in the development of referenced
         estimates of the VOC removal rates that might have occUlTed within the treatment
         units that existed at the three plants during 1968-1985.

         After determining the configuration and dimensions of the water treatment units in the
         three locations and after reviewing applicable models for estimating the volatilization
         rates of organic chemicals from water, TCE and PCE removals were calculated for
         raw and finished water reservoirs, recarbonation basins, filters and spiractors.

         The calculations revealed that VOC removal due to volatilization from quiescent ba-
         sins was negligible at MCB Camp Lejeune. The only significant VOC removals must
         have occurred at the spiractor effluent pipe, where the falling water undergoes some
         aeration. Considering the unceltainty in the estimates for the fall height over the weir
         formed by the pipe, the removals for TCE and PCE were likely to be less than 15%.




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         ATSDR SUPPORT - ESTIMATION OF VOC REMOVAL                                        SECTION 6
         MAIUNE CORPS BASE CAMP LF-JEUNE                                                REFERENCES

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         ATSDR SUPPORT - ESTIMATION OF VOC REMOVAL                                       SECTION 6
         MARINE CORPS BASE CAMP LEJEUNE                                                REFERENCES

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                                      ApPENDlxA

                                      SCOPE OF WORK

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                                 SCOPE OF WORK
                            WATER MODELING SUPPORT


    I.   BACKGROUND

         A.   Camp Lejeune is currently the subject of an
              epidemiological study by the Agency for Toxic Substance
              and Disease Registry (ATSDR) to ascertain the health
              impacts of various chemicals, which were present in the
              Hadnot point, Tarawa Terrace, and Holcomb Boulevard
              water supply systems in the early 1980's.

    II. OBJECTIVE

         A.   The primary objective of this project is to assist
              ATSDR in obtaining the historical and current
              information required for the modeling efforts that will
              be used in ATSDR's epidemiological study.

    III. SPECIFIC TASKS

         A.   The consultant shall develop a chronology of
(             infrastructure changes within the Tarawa Terrace,
              Holcomb Blvd, and Hadnot Point water distribution
              systems from 1968 to 1985. This chronology shall
              consist of a summary of relevant construction and
              maintenance projects and resulting modifications to
              infrastructure
         B.   The consultant shall develop GIS maps illustrating
              water treatment and distribution systems (TT, HB, HP)
              infrastructure corresponding to stages of their
              evolution from 1968 to 1985. These maps should reflect
              changes to the water main system (typically pipes over
              2" in diameter) on an annual basis. These maps shall
              show locations and attributes of all components,
              including water mains (material and sizes), valves,
              hydrants, and blowoffs. The year installed and retired
              (if applicable) shall be noted in the attribute tables.
         C.   The consultant shall develop a Water System Report to
              support the water system modeling effort. The report
              shall include the following:
               a. Data on dates that the water supply wells were
                  installed and closed.
               b. Detailed description of the Tarawa Terrace Water
                  Treatment Plant, which includes capacity, storage
                  tank sizes and locations, booster pump sizes and


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    ,                configurations, treatment process descriptions, etc.

            D.   The consultant shall provide contaminant occurrence,
                 fate and transport assistance to ATSDR.
            E.   The consultant shall provide up to 3 staff to attend up
                 to 5 meetings at MCB Camp Lejeune.
            F.   The consultant will conduct a literature review and a
                 search of the appropriate archives to develop
                 referenced estimates of the VOC removals that might
                 have occurred through the Hadnot Point, Holcomb
                 Boulevard and Tarawa Terrace water systems.
            G.   The consultant shall provide the following support to
                 ATSDRs distribution system tracer study efforts: a)
                 Review ATSDRs draft Work Plan for the Tracer Study
                 preliminary Test; b)Provide up to 2 days of onsite
                 assistance during the preliminary test; c) Review
                 ATSDRs draft Work Plan for the Tracer Study - Full
                 Scale Test; b) Provide up to 4 days of onsite assistance
                 during the Full Scale Test.
            H.   The consultant shall keep detailed records of the
                 number of hours that employees work to reseach archival
                 records and digitize historical water system maps.
            I.   The consultant shall evaluate and provide a summary of
(                the state of the technology for gas chromatographs in
                 the early 1980's. The summary should evaluate the
                 availability, use, limitations, and accuracy of GC
                 technology as applied to water quality testing,
                 specifically TTHM testing.
            J.   The consultant shall review the lab notes provided by
                 Grainger Laboratory. The notes were made in the context
                 of monitoring for TTHM's in drinking water. Describe
                 the laboratory procedures for analyzing TTHM's at the
                 time, including how "interference" from hydrocarbons
                 would have been detected and how the interference would
                 have affected the results. Describe the quantitative
                 conclusions,results and accuracy regarding VOC's that
                 the lab personnel would/could have drawn from the test
                 results. Provide an opinion as to the context of these
                 notes in terms of the presence of VOC's in the water
                 tested.




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    VI. MILESTONES AND MEETINGS

              A.The Contractor shall comply with the schedule of
                milestones, meetings, and submittal dates that will be
                established in consultation with Camp Lejeune and
                ATSDR. All meetings will be at Camp Lejeune unless
                otherwise requested by Camp Lejeune or ATSDR.

    The contractor shall coordinate all work with MCB Base Utilities
    and Public Works Office. A schedule of work shall be submitted
    to the POC at least 7 days prior to the beginning of work. Two
    days prior to the start of the work, the contractor shall
    contact the MCB Base POC to confirm the schedule. Any changes
    in the schedule must be coordinated with the MCB Base POCo




    V.   SUBMITTALS

         A.    Reports

(              1. The AlE shall submit five copies of the draft
    report and three electronic copies of the report on Tasks A, B,
    and C. Areas to be included in the draft report will be
    determined at the kick-off meeting.

               2.  Five copies of the final report and three
    electronic copies on Tasks A, B, and C shall be submitted.

               3. Government comments and recommendations will be
    provided to the AlE on the draft submittals for incorporation
    into the final report.

               4.  Final reports will be of professional quality
    including color maps, drawings, figures, and appendices.  The
    AlE shall furnish the Base with an original manuscript and a
    diskette of the final submittals.

         B. AutoCad mapping update

               1.  Five copies of the appropriate sheets {F-size
    prints} shall be submitted with the draft report.

               2.  The AlE shall submit for approval F-size prints
    showing the updated sheets of the water distribution system with


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    a drawing scale of 1 inch      ~   200 feet.

               3. Ten sets of half size prints shall also be
    provided with the final report. Two copies of final mapping
    mylars, and one copy of final AutoCad drawing files on 1.44 M 3
    1/2 inch diskette shall also be submitted.

         C.   Data coverages

         D.   GPS Tables

         E. Geographic Information System (GIS) Specifications For
    Digital Data. Any maps, drawings, figures, sketches, databases,
    spreadsheets, or text files prepared for this contract shall be
    provided in both hard copy and digital form.  The hard copy
    deliverables are defined in a previous section of this statement
    of work.

                  1.    Text, Spreadsheet, and Database Files: The
    Marine Corps standard computing software is Microsoft Office.   Final
    Reports and other text documents shall be provided in Microsoft Word
    2000 format AND Adobe Portable Document Format (PDF).   Spreadsheet
    files shall be provided in Microsoft Excel format.  Databases shall
(   be provided in Microsoft Access format, unless specified otherwise,
    as approved by the Government.  Prior to database development, the
    contractor shall provide the Government with a Technical Approach
    Document for approval which describes the contractor's technical
    approach to designing and developing the database. All text,
    spreadsheet, and database files shall be delivered on 3.5 inch, high
    density diskettes or compact disk read-only memory (CD-ROM) with ISO-
    9660 format.

                        a. Maps, Drawings, Sketches:

                             (I) Geographic Data Delivery Format:

                           (a) Digital geographic maps and the related
    digital information shall be developed
    using double precision and delivered in uncompressed ARC/INFO export
    file format (.eOO) using ARC/INFO Release 7.2 or higher. ARC/INFO is
    a geographic information system software
    application produced by the Environmental Systems Research Institute
    of Redlands, California, and is the software used by Camp Lejeune's
    Integrated Geographic Information Repository (IGIR) System.

                           (b) Digital geographic maps and the related
    digital information shall be usable on a Sun Sparc computer system


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    using the Solaris 2.8 UNIX Operating System. It shall be provided on
    2.3 or 5 Gbyte, 8 mm magnetic data cartridge tape using UNIX TAR.
    The tapes shall be
    delivered with written documentation describing which tape archival
     (tar) options were used, making recommendations for restoring the
    data, and relating how much data is stored on the tape.   Digital
    information may alternatively be delivered on compact disk read-only
    memory (CD-ROM) with ISO-9660 format.
                            (c) Geographic data shall be provided in meters
    and projected into the Universal Transverse Mercator (UTM) coordinate
    system. The maps shall use UTM Zone 18, the GRS 1980 spheroid and
    the North American Datum 1983 (WGS-84). No offsets shall be used.
    Each map layer or coverage shall have a projection file.   Map or
    drawing scales will be determined by the Contracting Officer's
    Technical Representative. Mapping accuracy for the agreed scales
    will conform to the American Society for Photogrammetry and Remote
    Sensing (ASPRS), "Accuracy Standards for Large-Scale Maps" and
    "Interim Accuracy Standards for Large-Scale Maps" (ASPRS, 1991).
    Copies of the ASPRS Accuracy Standards can be obtained by contacting:

                    American Society for Photogrammetry and Remote
    Sensing
                    5410 Grosvenor Lane, Suite 210
(                   Bethesda, MD 20814-2160

    ASPRS accuracy standards can also be found on the Internet at:

                    http://www.asprs.org

                            (d) Geographic data must be provided in a form
    that does not require translation,
    preprocessing, or postprocessing before being used in the IGIR
    System. However, the
    Contractor shall consult with the Government (specifically the
    Geographic Information Systems Branch) concerning the use of
    alternative delivery formats such as AutoCAD Release 14 or higher to
    provide design drawings, sketches, or figures. The Government may
    approve the USe of AutoCAD when it is determined that the format will
    not compromise the spatial accuracy or structure of the delivered
    data and that the data will easily integrate with the IGIR System.
    All digital files provided in AutoCAD shall be in the same projection
    and use the same coordinate system, datum, and units as stated above,
    and shall be provided on 3.5 inch, high density diskettes or CD-ROMs.

                         (2) Geographic Data Structure: The Contractor
    shall develop all geographic information in a structure consistent
    with the Spatial Data Standards (SDS) , Version 2.0, released in


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January, 2001, or a higher version if available at the time of this
project. The Contractor shall consult with the Government concerning
modifications or additions to the SDS. The Government may approve
modifications to the Standard if it is determined that SDS does not
adequately address subject datasets.  Copies of the SDS may be
obtained by contacting:

                 Director, U.S. Army Engineer Waterways Experiment
Station
                 CADD/GIS Technology Center
                 Attn:  CEWES-IM-DA/Smith
                 3909 Halls Ferry Road
                 Vicksburg, MS 39180-6199

Electronic copies of the Standards are also available from the
     CADD/GIS Technology Center's
Internet homepage at URL address:

                http://tsc.wes.army.mil

                      (3) Geographic Data Documentation: For each
      digital file delivered containing
geographic information (regardless of format), the Contractor shall
      provide documentation
consistent with the "Content Standards for Digital Geospatial
Metadata, June 1998" published by the Federal Geographic Data
Committee. The documentation shall include but is not limited to the
following:   the name and description of the map layer or coverage,
the source of the data and any related data quality information such
as accuracy and time period of content, the type of data coverage
 (point, line, polygon, etc.), the field names of all attribute data
and a description of
each field name, the definition of all codes used in the data fields,
the ranges of numeric fields and the meaning of these numeric ranges,
the creation date of the map layer and the name of the person who
created it. A point of contact shall be provided to answer technical
questions.   A metadata generation software, called Document. amI , is
available from ESRI for use with ARC/INFO to help in the production
of the required metadata and should be used.   If document.aml is not
used, the Contractor must insure that the .DOC, .ATT, .NAR and .REF
INFO files delivered with the data layers are compatible with the
document.aml process.     Copies of the FGDC metadata standard can be
obtained by contacting:

          FGDC Secretariat
          c/o U.S. Geological Survey
          590 National Center


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                    (703) 648-5514

        FGDC metadata standards can also be found on the Internet at:

                    http://www.fgdc.gov

                                     (4) Geographic Data Review: The
        digital geographic maps, related data, and text documents shall
        be included for review in the draft and final contract
        submittals. The reviews shall include a visual demonstration of
        the geographic data on one of the Sun Sparc or Windows NT
        computer systems supported by the Geographic Information System
         (GIS) Branch, Business and Logistics Support Department. Actual
        installation of the digital data from the magnetic tape
        cartridge or CD-ROM onto the computer will be conducted by GIS
        Branch personnel.   However, the Contractor shall have a
        technical consultant available at each review to assist with any
        digital data discrepancies. The data will be analyzed for
        subject content and system compatibility.    Review comments to
        data and text shall be incorporated by the Contractor prior to
        approval of the final submittal.

    (                           (5) Ownership:   All digital files, final
        hard-copy products, source data acquired for this project, and
        related materials, including that furnished by the Government,
        shall become the property of Marine Corps Base, Camp Lejeune and
        will not be issued, distributed, or published by the Contractor.

                       F. Global positioning System (GPS) Data Collection
        Standards

                             1. Field Procedures

                                a. Static Mode - recommend 180+
        measurements at 1 second intervals; measurements must be stored
        in the receiver for later downloading and post-processing.

                                  b. Kinematic mode -   the time between
                          measurements should not exceed 1 second.

                                   c. Elevation mask> 10 degrees.

                                   d. Datum - WGS 84 (Equivalent to NAD 83,
                          the State legislated datum) .

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                            e. Units - US Survey meters (NC General
    Statutes require US Survey Foot for English to metric
    conversion) .

                               f. Elevation mode - Height above
                     Ellipsoid (HAE).

                               g. PDOP    < 6 with a minimum of four
                     satellites.

                              h. The Roving (Field) Receiver must be
    within 200 miles of the approved Base Station to be used for
    differential corrections.

                 G. Equipment

            1. The GPS receiver shall produce and store data in a
    format compatible with the Base station data used to perform the
    differential corrections.

            2. Using differential GPS techniques, the GPS receiver
    shall be able to obtain accuracies of + 0.5 meters or better.

(                     3. GPS receiver shall have the capability to
    collect, store, and transfer digital data files that contain
    pseudo-range measurements with time epoch.

                      4. The North Carolina Geodetic Survey will
    maintain a list of receivers known to be compatible with the
    North Carolina Geodetic Survey Base Station Network.

                 H. Approved Based Stations

                 1. North Carolina Geodetic Survey Base Stations
          located at:
                      Washington - Regional Office EHNR
                      Asheville - Regional Office of EHNR
                      Raleigh - Archdale Building

             2. The North Carolina Geodetic Survey will maintain a
    list of additional approved Base Stations and their geodetic
    control specifications.



    VI.   ADDITIONAL INFORMATION



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         A. The following information shall be made available for
    copy by the AlE after award but not later than the kick-off
    meeting:

                       1. Historic As-built drawings of the water
    distribution systems will be made available.

                        2. GIS maps of the existing Hadnot Point and
    Holcomb water systems




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                                      ApPENDIX B

                        DIMENSIONS OF TREATMENT UNITS

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     All Environmental Consultants

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          Type
          Capacity
          Top Radius
          Soltom Radius
          OuIJet Elevation
          Bottom Elevallon


          Capacity
          Width
          Length
          Bottom Elevallon
          Top Elevation
          NormalWL


          Type
          Width (or Diameter)
          Length
          BoUom ElavaUon
          Filter Bottom Depth
          Gravel
          Sand
    (     NormalW.L.



          Capacity
          Width (or Diameter)
          Length
          BoUom Elevation (max.)
          NormalW,l.

                                     2
          Capacity
          Width (or Diameter)
          Length
          Sollorn Elevation (max.)
          Normal W.L.



                                                                         Y&D

          Year
          Contract No.                                                   11255
          Drawing                           NAVFAC                                         Y&D
          Upgrades                       Raw water resalVoir,       I                      Added pressure
                                         ciearwell, 3 splraclors, 3


          Contract No.
          Drawing

          Year
          Contract No.
          Drawing                                                        Y&D 842850-
(         Upgrades




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                                     ApPENDIX C

                          VOC REMOVAL CALCULATIONS




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                                                   Spiractor - TCE and PCE Removal


I        Properties of Chemical                            TCE              PCE
           Henry's Constant (atm'mJ/mol)                         7.07E-03         1.31 E·02
           Molecular Weight                                        131.39            165.82
         Wind Speed [mls]                                               5                 5
         Geometry
          Top Radius [m]                                              1.6              1.6
           Bottom Radius [m}                                         0.37             0.37
           Height [m]                                                 6.7              6.7
           Volume lro::!}                                           23.08            23.08
          Surface Area [ml!]                                         8.04             8.04
         Hydraulics
           Flow Rate [m;$lh]                                       157.73           157.73
          Detention Time [hI                                         0.15             0.15
          Overflow Rate [mls]                                        0.01             0.01
         liquid Phase Exchange Coet.
            k, (Equation 6) [emlh]                                   0.11             0.09
         Gas Phase Exchange Coet.
          kg (Equation 4) [emlh]                                 2107.41          1875.91
         Liquid Mass Transfer Coefficient
           K L (Equation 3) [emlh]                                   0.11             0.09
         Overall Volatilization Constant
          k, (Equation 2) [11h]                                     0.00              0.00
         Half Life
           t,dd]                                                  183.49           206.12
         Fraction Remaining After Detention Time
           CIIC o                                           0.999976973      0.999979501
         Removal
           1-C f /C o                                              0.00%            0.00%


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                                                         Weir - TCE and PCE Removal


         Reference Substance Properties (Benzene)
                                                 2
           Diffusion Coefficient in Air D00 (cm /s)                    0.0982
           Diffusion Coefficient in Water 010 (cmz/s)                8.99E·06
         Properties of Chemical                                TCE              PCE
           Henry's Constant (alm'ma/mol)                             7.07E-03         1.31E-02
           Diffusion Coefficient In Water DIY (cm2/s)                8.43E-06         7.59E-06
                                               2
           Diffusion Coefficient in Air Ogv (cm /s)                     0.089           0.0813
           Molecular Weight M                                          131.39           165.82
         Geometry
           Pipe Diameter [m]                                              0.3               0.3
           Pipe Circumference [m]                                        0.94             0.94
           Critical Depth above Weir * 1.5 [m]                           0.05             0.05
           Fall Height Z (m)                                            0.375            0.375
           Tallwater Depth Il (m)                                        0.15             0.15
         Hydraulics
           Flow Rale [m<l/h}                                           157.73           157.73
           Flow Rate per Length of Weir q [m~lh]                       167.79           167.79
         Deficit Ratio
           In(r) (Equation 11)(-)                                     0.1520           0.1520
         liquid Mass Transfer Coefficient
            k, (Equation 10) (mls)                                    0.0181           0.0169
         Gas Mass Transfer Coefficient
           kg (Equation 9) (mls)                                      0.0469           0.0441
         Overall Mass Transfer Coefficient
           Kg (Equation 8)(mls)                                      7.82E-03         9.92E-03
         Fraction Remaining
           C/Co                                                       0.9390           0.9233
         Removal
           1-C/IC o                                                    6.10%            7.67%
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                                          Hadnot Point Basins - TCE and PCE Removal


                                                             Raw Water Reservoir          Recarbonation Basin
     Properties of Chemical                            TeE             peE            TeE           peE
        Henry's Constant (atm'm;i/moJ)                        7.07E·03       1.31E·02      7.07E·03       1.31E·02
        Molecular Weight                                        131.39         165.82        131.39         165.82
     Wind Speed [mls]                                                0              0             5              5
     Geometry
        Width or Diameter [m]                                   28.96          28.96           2.59           2.59
        Length 1m]                                              28.96          28.96           9.14           9.14
        Depth 1m]                                                3.58           3.58           2.74           2.74
        Volume [m:!]                                          3002.82        3002.82          64.99          64.99
        Surface Area rm;~J                                     838.45         838.45          23.69          23.69
        Cross-Sectional Area [m~J                              103.70         103.70           7.11           7.11
     Hydraulics
        Flow Rate Im'lh]                                       788.63         788.63         788.63        788.63
        Detention Time [hI                                        3.81           3.81          0.08          0.08
        Flow Velocity or Overflow Rale {m/s]                   0.0021         0.0021         0.0308        0.0308
     Liquid Phase Exchange Coef.
        k, (Equation 5) lemlh]                                 0.0126         0.0112           1.03           0.92
     Gas Phase Exchange Coet.
        kg (Equation 4) lemlh]                                 0.8894         0.7917      2118.0956     1885.4206
     liquid Mass Transfer Coefficient
        K L (Equation 3) lemlh]                                0.0120         0.0109         1.0298        0.9174
     Overall Volatilization Constant
       k, (Equation 2) 111h]                                   0.0000         0.0000         0.0038        0.0033
     Half Life
       t,~ld]                                                  862.36         948.32           7.69          8.64
     Fraction Remaining After Detention Time
       O/Co                                              0.999872486     0.999884044    0.99969069    0.999724453
     Removal
       1-C/IC o                                                 0.01%         0.01%          0.03%          0.03%




AH Environmental Consultants, Inc.                                                                                   May 2004


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                                             Hadnot Point Basins - TCE and PCE Removal


                                                                  Gravity Filter                        Clearwelll
         Properties of Chemical                           TCE              PCE                TCE            PCE
           Henry's Constant (alm'm:.i/mol)                      7.07E-03           1.31E·02         7.07E·03         1.31 E-02
           Molecular Weight                                       131.39             165.82           131.39            165.82
         Wind Speed [m/s]                                              0                  0                0                 0
         Geometry
           Width or Diameter [m]                                   5.33                5.33           24.08            24.08
            Length [m]                                             6.10                6.10           24.08            24.08
            Depth [m]                                              1.60                1.60            3.66             3.66
            Volume [m"')                                          52.03               52.03         2120.71          2120.71
            Surface Area fm;::]                                   32.52               32.52          579.81           579.81
            Cross-Sectional Area [m£}                              8.54                8.54           88.07            88.07
         Hydraulics
            Flow Rate [m<llh]                                    157.73              157.73          788.63           788.63
            Detention Time [h]                                     0.33                0.33             2.69            2.69
            Flow Velocity or Overflow Rate [m/s}                 0.0013              0.0013          0.0025           0.0025
         liquid Phase Exchange Coet.
            k, (Equation 5) [emlh]                               0.0140              0.0124          0.0145           0.0129
         Gas Phase Exchange Coet.
            k, (Equation 4) [em/hi                               0.5673              0.5050          1.0472           0.9322
         liquid Mass Transfer Coefficient
            K L (Equation 3) [emlh]                              0.0129              0.0119          0.0139           0.0126
         Overall Volatilization Constant
            k, (Equation 2) [11h]                                0.0001              0.0001          0.0000           0.0000
         Half Life
           t,"   [d]                                             358.21              388.09          761.82           838.09
         Fraction Remaining After Detention Time
            GIIC o                                          0.999973403          0.99997545     0.999898059     0.999907335
         Removal
(          1-C/IC o                                               0.00%              0.00%            0.01%            0.01%




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                                                  Hadnot Point Basins - TCE and PCE Removal


    (                                                                    Clearwe1l2
             Properties of Chemical                            TCE             PCE
               Henry's Conslant (atm'm'J/mol)                        7.07E-03       1.31E-02
               Molecular Weight                                        131.39         165.82
             Wind Speed [mlo]                                                0             0
             Geometry
               Width or Diameter [m1                                   46.33           46.33
               Length [m]                                              46.33           46.33
               Depth [m]                                                3.53            3.53
               Volume [m'J]                                          7569.47         7569.47
               Surface Area [m~]                                     2146.43         2146.43
               Cross-Sectional Area [m':]                             163.38          163.38
             Hydraulics
                Flow Rate [m'Jlh)                                     788.63          788.63
                Detention Time [hI                                      9.60             9.60
                Flow Velocity or Overflow Rate [m/s]                  0.0013          0.0013
             liquid Phase Exchange Coet.
                k, (Equation 5) [emlh]                                0.0082          0.0073
             Gas Phase Exchange Coet.
               k, (Equation 4) [emlh]                                 0.5645          0.5025
             Liquid Mass Transfer Coefficient
               K dEqualion 3) [emlh]                                  0.0078         0.0071
             Overall Volatilization Constant
               k, (Equation 2) [11h]                                  0.0000         0.0000
             Half Life
               t,dd]                                                 1306.96         1436.50
             Fraction Remaining After Detention Time
               O/Co                                              0.999787919    0.999807043
             Removal
    (          1-0/C o                                                 0.02%          0.02%




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                                            Holcomb Boulevard Basins - TCE and PCE Removal


 I
'.                                                                  Gravity Filter                         Clearwell
          Properties of Chemical                            TCE              peE                 TeE              peE
            Henry's Constant (atm'm~/mol)                         7.07E·03           1.31 E·02         7.07E-03          1.31E·02
            Molecular Weight                                        131.39              165.82           131.39            165.82
          Wind Speed [m/s]                                               0                   0                0                 0
          Geometry
            Width or Diameter 1m]                                    5.49                5.49            26.21              26.21
            Len9th 1m]                                               6.10                6.10            55.17              55.17
            Depth 1m]                                                1.19                1.19             2.74               2.74
            Volume (m;:!]                                           39.96               39.96          3967.02            3967.02
            Surface Area [m~]                                       33.45               33.45          1446.13            1446.13
            Cross·Seclional Area [m~]                                6.56                6.56            71.91              71.91
          Hydraulics
            Flow Rate [m'/h]                                       157.73             157.73            315.45             315.45
            Detention Time [hI                                       0.25                0.25            12.58              12.58
            Flow Velocity or Overflow Rate (m/s}                   0.0013             0.0013            0.0012             0.0012
          Liquid Phase Exchange Coet.
            k, (Equation 5) [cmlh]                                 0.0166             0.0147            0.0088             0.0079
          Gas Phase Exchange Coet.
            kg (Equation 4) [em/h]                                 0.5515             0.4909            0.5131             0.4567
          Liquid Mass Transfer CoeffIcient
            K dEquation 3) [emlh]                                  0.0150             0.0140            0.0083             0.0076
          Overall Volatilization Constant
            k, (Equation 2) [11h]                                  0.0001             0.0001            0.0000             0.0000
          Half Life
            ',dd]                                                  229.62             246.95            950.13            1040.21
          Fraction RemaIning After Detention Time
            CJ/Co                                             0.999968134      0.99997037          0.999617807          0.9996509
          Removal
            1·C/C o                                                 0.00%              0.00%             0.04%             0.03%




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                                             Tarawa Terrace Basins - TCE and PCE Removal


                                                                     Clearwell
          Properties of Chemical                           TCE            PCE
           Henry's Constant (alrn'm;J/mol)                       7.07E-03        1.31E-02
           Molecular Weight                                        131.39          165.82
          Wind Speed [m/5]                                              0               0
          Geometry
            Width or Diameter [m]                                   32.00          32.00
            Length [m]
            Depth [ml                                               3.66            3.66
            Volume [m;J]                                         2942.35         2942.35
            Surface Area {m~]                                     804.45          804.45
            Cross-Sectional Area (m;'::]                          117.06          117.06
         Hydraulics
            Flow Rate [m;j/h]                                     157.73          157.73
            Detention Time [h]                                     18.65           18.65
            Flow Velocity or Overflow Rate [mlsJ                  0.0004          0.0004
         Liquid Phase Exchange Coet.
           kr (Equation 5) [emlh]                                 0.0023          0.0021
         Gas Phase Exchange Coet.
            kg (Equation 4) [em/h]                                0.1576          0.1403
         liquid Mass Transfer Coefficient
            K L (Equation 3) [emlhl                               0.0022          0.0020
         Overall Volatilization Constant
           k, (Equation 2) [l/h]                                  0.0000          0.0000
         Half Life
           t,dd]                                                 4787.05         5259.86
         Fracilon Remaining After Detention Time
           C/Co                                              0.999887458     0.999897574
         Removal
(          1-G,IC o                                               0.01%           0.01%




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